Case 2:09-cr-00117-WFN   ECF No. 264   filed 10/20/10   PageID.1062 Page 1 of 5
Case 2:09-cr-00117-WFN   ECF No. 264   filed 10/20/10   PageID.1063 Page 2 of 5
Case 2:09-cr-00117-WFN   ECF No. 264   filed 10/20/10   PageID.1064 Page 3 of 5
Case 2:09-cr-00117-WFN   ECF No. 264   filed 10/20/10   PageID.1065 Page 4 of 5
Case 2:09-cr-00117-WFN   ECF No. 264   filed 10/20/10   PageID.1066 Page 5 of 5
